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17                               UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S STATEMENT IN SUPPORT
22    v.                                             OF ADMINISTRATIVE MOTIONS TO
                                                     SEAL
23    APPLE INC.,
                                                     The Honorable Thomas S. Hixson
24         Defendant, Counterclaimant
25

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 1           Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

 2   submits this statement in support of Epic Games, Inc.’s Administrative Motion to Consider Whether

 3   Another Party’s Material Should Be Sealed Pursuant to Civil Local Rule 79-5 (Dkt. 1152), and Epic

 4   Games, Inc.’s Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed

 5   Pursuant to Civil Local Rule 79-5 (Dkt. 1161) (together, “Epic’s Motions”). Epic attached to each

 6   motion an Exhibit A consisting of various privilege log entries relevant to the issues before the Court.

 7   For ease of reference, Apple refers to the Exhibit A attached to Dkt. 1152 as Exhibit A-1, and the Exhibit

 8   A attached to Dkt. 1161 as Exhibit A-2. Apple respectfully requests that the Court seal portions of the

 9   privilege log entries submitted as Exhibits A-1 and A-2 to Epic’s Motions. These exhibits contain

10   information sealable under controlling law and Local Rule 79-5, because they contain competitively

11   sensitive, non-public information regarding Apple’s project codenames and its retention of outside

12   counsel, as well as personally identifying information in the form of email addresses of Apple’s

13   employees. Apple’s proposed redactions of Exhibits A-1 and A-2 are indicated in the redacted versions

14   of Exhibits A-1 and A-2 filed with this statement and itemized in the concurrently filed Declaration of

15   Mark A. Perry (the “Perry Declaration”).

16                                            LEGAL STANDARD
17          “The court may, for good cause, issue an order to protect a party or person from annoyance,

18   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

19   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

20   for many types of information, including, but not limited to, trade secrets or other confidential research,

21   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

22   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,

23   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

24   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,

25   at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

26   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

27   (granting request to seal “internal product codenames” and noting that a prior request for the same had

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 1   also been granted); Snapkeys, Ltd. v. Google LLC, 2021 WL 1951250, at *3 (N.D. Cal. May 14, 2021)

 2   (granting motion to file under seal personally identifiable information, including email addresses and

 3   telephone numbers of current and former employees).

 4          Although a party must show compelling circumstances to seal information appended to

 5   dispositive motions, the standard for non-dispositive motions is simply “good cause.” In re Anthem, Inc.

 6   Data Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

 7   Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

 8   Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

 9   should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

10   Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

11   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

12   seal “because the request is narrowly tailored and only includes confidential information”).

13                                               DISCUSSION
14          Apple seeks to seal the confidential business information and personally identifying information

15   in Exhibits A-1 and A-2. See Perry Decl. ¶¶ 5–6.

16          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

17   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public

18   has less of a need for access to court records attached only to non-dispositive motions because those

19   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.

20   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

21   discovery generally are considered nondispositive of the litigation” (quotation omitted)); see also In re

22   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018

23   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

24          Apple’s sealing request meets the good cause standard here. Lamartina v. VMware, Inc., 2024

25   WL 3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple

26   operates in an intensely competitive environment, and thus has taken extensive measures to protect the

27   confidentiality of its information. See Perry Decl. ¶ 3. Disclosure of the sealed information in Exhibits

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 1   A-1 and A-2 relating to confidential project codenames and Apple’s retention of outside counsel could

 2   harm Apple’s business interests. Perry Decl. ¶ 5; see also DNA Genotek Inc., 2023 WL 4335734, at *2

 3   (finding good cause where disclosure would “undercut” a party’s “position … in the marketplace”);

 4   Apple Inc., 2024 WL 1204115, at *1. With respect to both Exhibit A-1 and Exhibit A-2, courts in this

 5   district have found not only good cause, but compelling reasons exist to seal personally identifiable

 6   information. See Snapkeys, 2021 WL 1951250, at *3 (granting motion to file under seal personally

 7   identifiable information, including email addresses and telephone numbers of current and former

 8   employees); see also UnifySCC v. Cody, 2023 WL 7170265, at *1 (N.D. Cal. Oct. 30, 2023) (finding

 9   compelling reasons to seal personally identifying information of employees, including names, addresses,

10   phone numbers, and email addresses).

11          Apple has narrowly tailored its sealing request to include only the information necessary to

12   protect its confidential business information. See Krommenhock v. Post Foods, LLC, 2020 WL 2322993,

13   at *3 (N.D. Cal. May 11, 2020) (granting motion to seal “limited” information); see also Phillips, 307

14   F.3d at 1211; Williams v. Apple Inc., 2021 WL 2476916, at *2–3 (N.D. Cal. June 17, 2021) (noting

15   Apple’s narrowed sealing requests with “tailored redactions”); Dkt. No. 643 at 3 (finding Apple’s

16   proposed redactions appropriate for an exhibit when redactions were “narrowly tailored” to “sensitive

17   and confidential information”). Apple has only partially redacted limited information in Exhibits A-1

18   and A-2. See Perry Decl. ¶ 6.

19          For the foregoing reasons, there is good cause that warrants partially sealing the exhibits to Epic’s

20   Motions.

21                                                   CONCLUSION
22          Apple respectfully requests that the Court seal the information identified in the accompanying

23   declaration.

24   Dated: February 7, 2025                                 Respectfully submitted,

25                                                           By: Mark A. Perry
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26
                                                             WEIL, GOTSHAL & MANGES LLP
27
                                                             Attorney for Apple Inc.
28

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     SEAL
